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  AO 2445B (Rev. AO 11/1
                       16-CAN 04/18) Ju
                                      udgment in Criminal Case


                                     UNITED
                                          D STATE
                                                ES DISTR
                                                       RICT COURT
                                               Nortthern Disstrict of C
                                                                      Californiia
             UNITE
                 ED STATES  S OF AMER  RICA                              ) JUD
                                                                             DGMENT IN
                                                                                     N A CRIMIINAL CASE
                                                                                                      E
                           v.                                            )
                Addam Thatcheer Lawrence                                 )     USDC C Case Numbeer: CR-18-000014-001 HSG
                                                                         )     BOP Case Number: DCAN418CR       R00014-001
                                                                         )     USM Number: 246659-111
                                                                         )     Defenndant’s Attorneey: William L. Osterhoudt & K. Alexandraa
                                                                                                         McClurre (Retained)


  THE DEFENDAN    NT:
      pleaded guilty
                   y to count: Two o
      pleaded nolo contendere
                   c            to count(s):
                                   c          whicch was accepted d by the court.
      was found guiilty on count(s)): after a plea of not guilty.

  The ddefendant is adj
                     djudicated guiltty of these offeenses:
  Title & Section                 Na ature of Offen nse                                                       Offfense Ended          Count
  16 U..S.C. §§3372(dd) &         Mislabeling Wild    dlife Intended for Importationn                         Appril 26, 2013         Two
  3373((d)(3)(i)


  The ddefendant is sen
                      ntenced as prov
                                    vided in pages 2 through 6 of this judgm
                                                                           ment. The sentennce is imposedd pursuant to thhe Sentencing
  Reforrm Act of 1984 4.

        The defendant has been foun
                                  nd not guilty on
                                                 n count(s):
        Count One iss dismissed on the motion of the
                                                 t United Stattes.

      Itt is ordered th hat the defendaant must notiffy the United States attorneyy for this disttrict within 300 days of any change of nam    me,
residencce, or mailing address until all
                                      a fines, restitu
                                                     ution, costs, an
                                                                    nd special assesssments imposed by this judggment are fullyy paid. If ordeered
to pay rrestitution, the defendant musst notify the court and Unitedd States attorneey of material cchanges in econnomic circumsstances.

                                                                             6/25/20118
                                                                             Date of Imposition of Judgment


                                                                             Signaturre of Judge
                                                                             The Honnorable Haywoood S. Gilliam Jr.
                                                                             United S
                                                                                    States District Judge
                                                                             Name & Title of Judgee

                                                                             7/2/20188
                                                                             Date
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AO 245B (Rev. AO 11/16-CAN 04/18) Judgment in Criminal Case
DEFENDANT: Adam Thatcher Lawrence                                                                               Judgment - Page 2 of 6
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                                                              PROBATION
The defendant is hereby sentenced to probation for a term of: Three years.

The appearance bond is hereby exonerated. Any cash bail plus interest shall be returned to the owner(s) listed on the Affidavit of
Owner of Cash Security form on file in the Clerk's Office.

                                     MANDATORY CONDITIONS OF SUPERVISION
1)    You must not commit another federal, state or local crime.
2)    You must not unlawfully possess a controlled substance.
3)    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                    The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                    substance abuse. (check if applicable)
4)           You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5)           You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
             seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you
             reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6)           You must participate in an approved program for domestic violence. (check if applicable)
7)           You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if
             applicable)
8)    You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9)    If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
10)   You must notify the court of any material change in your economic circumstances that might affect your ability to pay
      restitution, fines, or special assessments.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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DEFENDANT: Adam Thatcher Lawrence                                                                                 Judgment - Page 3 of 6
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                                       STANDARD CONDITIONS OF SUPERVISION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by
probation officers to keep informed, report to the court, and bring about improvements in your conduct and condition.

1)         You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
           the time you were sentenced, unless the probation officer instructs you to report to a different probation office or within a
           different time frame.
2)         After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
           and when you must report to the probation officer, and you must report to the probation officer as instructed.
3)         You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
           from the court or the probation officer.
4)         You must follow the instructions of the probation officer related to the conditions of supervision.
5)         You must answer truthfully the questions asked by your probation officer.
6)         You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
           living arrangements (such as the people you live with, for example), you must notify the probation officer at least 10 days
           before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must
           notify the probation officer within 72 hours of becoming aware of a change or expected change.
7)         You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
           officer to take any items prohibited by these and the special conditions of your supervision that he or she observes in plain
           view.
8)         You must work at least part-time (defined as 20 hours per week) at a lawful type of employment unless excused from doing
           so by the probation officer for schooling, training, community service or other acceptable activities. If you plan to change
           where you work or anything about your work (such as your position or your job responsibilities), you must notify the
           probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not
           possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a
           change or expected change.
9)         You must not communicate or interact with someone you know is engaged in criminal activity. You must not associate,
           communicate, or interact with any person you know has been convicted of a felony, unless granted permission to do so by the
           probation officer.
10)        If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
11)        You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
           without first getting the permission of the court.
12)        You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
           that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
           nunchakus or tasers).

           If the probation officer determines that you pose a risk to a third party, the probation officer may require you to notify the
           person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm
           that you have notified the person about the risk. (check if applicable)

U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. I understand that the court may (1) revoke supervision, (2) extend the term of supervision,
and/or (3) modify the conditions of supervision upon a finding of a violation of probation or supervised release.




(Signed)
             Defendant                                                          Date


             U.S. Probation Officer/Designated Witness                          Date
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DEFENDANT: Adam Thatcher Lawrence                                                              Judgment - Page 4 of 6
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                                         SPECIAL CONDITIONS OF SUPERVISION

1.       The defendant must pay any fine and special assessment that is imposed by this judgment and that
         remains unpaid at the commencement of the term of probation.

2.       You must not open any new lines of credit and/or incur new debt without the prior permission of the
         probation officer.

3.       You must provide the probation officer with access to any financial information, including tax returns,
         and shall authorize the probation officer to conduct credit checks and obtain copies of income tax
         returns.

4.       You must perform 200 hours of community service as directed by the probation officer.

5.       You must cooperate in the collection of DNA as directed by the probation officer.

6.       You must submit your person, residence, office, vehicle, electronic devices and their data (including cell
         phones, computers, and electronic storage media), or any property under your control to a search. Such a
         search must be conducted by a United States Probation Officer or any federal, state or local law
         enforcement officer at any time with or without suspicion. Failure to submit to such a search may be
         grounds for revocation; you must warn any residents that the premises may be subject to searches.

7.       You are prohibited from hunting, trapping, being a hunting guide or scout, or being with anyone else
         engaged in those activities. This prohibition includes, but is not limited to, the purchase of licenses,
         permits, approvals, authorizations, stamps, tags, application for preference points, or any hunter
         education certificates or classes. This prohibition also includes the possession, transportation, storage, or
         processing of any wildlife, including but not limited to trophies, parts, or products, whether or not
         legally taken, excepting those trophies, parts or products legally taken that the defendant already possess
         at the time of entry of judgment. Should you violate this condition, you are subject to revocation and
         potential incarceration.
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                                                  CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetary penalties under the schedule of payments.

                                                 Assessment                   JVTA Assessment*                        Fine                     Restitution
TOTALS                                              $ 100                           N/A                              $10,000                 To be determined



      The determination of restitution is deferred until 8/9/18. An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.
      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.


           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
           otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all
           nonfederal victims must be paid before the United States is paid.
Name of Payee                                        Total Loss                         Restitution Ordered                      Priority or Percentage




TOTALS                                                  $ 0.00                                     $ 0.00


       Restitution amount ordered pursuant to plea agreement $
       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
               the interest requirement is waived for the .
               the interest requirement is waived for the is modified as follows:




* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
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                                                                SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A              Lump sum payment of __$10,100___________________ due immediately, balance due

                        not later than , or
                        in accordance with                 C,         D, or          E, and/or              F below); or

B              Payment to begin immediately (may be combined with                             C,          D, or        F below); or

C              Payment in equal (e.g., weekly, monthly, quarterly) installments of _ over a period of (e.g., months or years), to
               commence (e.g., 30 or 60 days) after the date of this judgment; or

D              Payment in equal (e.g., weekly, monthly, quarterly) installments of _ over a period of (e.g., months or years), to
               commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E              Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F              Special instructions regarding the payment of criminal monetary penalties:
               It is further ordered that the defendant must pay to the U.S. Fish and Wildlife Service, Cost Accounting Section, P.O. Box
               272065, Denver, CO 80227-9060, RE: Lacey Act Reward Account (in memo line) a fine in the amount of $10,000. Once
               the defendant is on probation, the fine must be paid in monthly payments of not less than $500 or at least 10 percent of
               earnings, whichever is greater, to commence no later than 60 days from placement on supervision. Any established
               payment plan does not preclude enforcement efforts by the US Attorney's Office if the defendant has the ability to pay
               more than the minimum due. Fine payments must be made to the Clerk of U.S. District Court, Attention: Financial Unit,
               450 Golden Gate Ave., Box 36060, San Francisco, CA 94102.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

    Joint and Several

Case Number                                                       Total Amount              Joint and Several                        Corresponding Payee,
Defendant and Co-Defendant Names                                                                Amount                                  if appropriate
(including defendant number)


       The defendant shall pay the following court cost(s):

       The defendant shall forfeit the defendant’s interest in the following property to the United States: (a) one leopard (Panthera
       pardus) skin and skull seized from my house on October 26, 2016; and (b) one .270 caliber hunting rifle.

       The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all or
       part of the restitution ordered herein and may order such payment in the future, but such future orders do not affect the
       defendant’s responsibility for the full amount of the restitution ordered.




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
